Case 8:24-cv-02355-KKM-AAS      Document 19     Filed 12/03/24   Page 1 of 1 PageID 86




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

                     CLERK'S MINUTES - CIVIL GENERAL

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 CASE NO. 8:24-cv-2355-KKM          DATE: December 3, 2024


 TITLE: Lockwood-Davis v. Equifax Information Services LLC

 TIME: 10:44 am – 10:45          TOTAL: 1 Minutes

 Honorable    AMANDA ARNOLD SANSONE                  Deputy Clerk: Jeremiah Smith

 Court Reporter/Tape      Digital        Courtroom  ZOOM
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 Attorney for Plaintiffs:
 Fethullah Gulen

 Attorney for Defendants:
 Jason Daniel Joffe

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 PROCEEDINGS:
                       STATUS CONFERENCE

 The Court calls the case and counsel state their appearances for the record.

 The Court discusses the IDEAL pilot program with counsel.

 The Court to enter an order detailing the deadlines for the IDEAL program.

 Court adjourned.
